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                                     Brian August, Esq.
                                   100 Willoughby Street, 9E
                                     Brooklyn, NY 11201
         1/6/2021
VIA ECF/EMAIL

Honorable Judge Stewart D. Aaron          In light of the Court's Order from earlier today extending the
United States District Court              time for Plaintiffs to file the amended pleading and noting that
Southern District of New York             there are no applicable page limits (see ECF No. 49), Plaintiff
40 Foley Square                           NRCM's application is DENIED AS MOOT. SO ORDERED.
New York, NY 10007                        Dated: January 6, 2021
January 6, 2021

Re: Kumaran et al vs. National Futures Association et al 1:20-Cv-03668-GHW-SDA


Dear Hon. Magistrate Judge Aaron:


       I recently appeared in this matter, and I write you to concur with Plaintiff Kumaran’s
request to file excess pages in the FAC. It is extremely important that this complaint is drafted
with a high level of specificity, given that the complaint was previously dismissed as frivolous,
without a good faith right. The complaint contains substantial, numerous allegations of fraud and
illegalities against a regulatory agency requiring a great deal of descriptive nuance and detail.


       Ms. Kumaran has been working extensively on this pleading. Counsel respectfully
requests that the Court’s exercise its discretion to allow a few more days – through Friday,
January 15, to give Counsel and Ms. Kumaran a little extra time to continue to edit the
Complaint. Counsel for NFA has agreed to this extension, and we will be having a phone
conversation later this week.


       This request is made by NRCM, on behalf of both parties, as Ms. Kumaran wishes to
respect the Court’s schedule. We would like to work together to make every reasonable attempt
to edit down the Complaint, so that we can truthfully certify that we’ve made every possible
effort to do so without prejudicing Plaintiffs’ rights.


       This matter contains detailed allegations of illegal conduct and that NRCM’s rights were
severely harmed. The alleged conduct resulted in enormous harm to NRCM, ultimately leading
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to the entity being dissolved.     Given the extraordinary complexity of the allegations, the
extensive and detailed activity and timeline since 2011, it is a challenge to significantly shorten
the complaint while adhering to the pleading requirements without risking prejudice to NRCM’s
rights. A short extension would greatly facilitate our attempts to make further edits, wherever
possible.


       Counsel also reminds this Court that NFA previously argued that fraud was not pled with
particularity. Accordingly to cure this deficiency, a certain degree of length and detail is required
to lay out exactly why and how the fraudulent and illegal conduct came about, going all the way
back to NFA’s prior rulings from 2011.


       In addition, NRCM joins in Plaintiff Kumaran request for excess pages, consistent with
the Securities Fraud 10(b) claims, as this will assist the Court in properly adjudicating this case
on the merits. Given the extensive briefing on the motion for reconsideration, and the significant
number of regulatory statutes cited in the related cases (20-CV-3871 and 20-CV-3873), enabling
this Court to properly adjudicate this case, brought against a registered futures association
alleged to have participated in the fraud will, in the long run alleviate a burden on all Defendants.


       Assuming it is within the Court’s reasonable discretion and generosity, the allowance of
additional time to make the required edits would be greatly appreciated.


       Thank you in advance.


       Respectfully submitted,
       //BA//
       Brian August, Esq.
       Cc: Samantha S. Kumaran
